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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 24-CR-80116-AMC


   UNITED STATES OF AMERICA,

            Plaintiff,

            vs.

   RYAN WESLEY ROUTH,

         Defendant.
   _________________________________/
     MOTION TO COMPEL CONFIDENTIAL AND INDEPENDENT TESTING
          OR TO EXCLUDE GOVERNMENT’S EXPERT TESTIMONY

            Defendant, Ryan Wesley Routh, by and through his undersigned counsel,

   requests the Court issue an order to compel confidential, independent expert

   inspection, photography, and testing of the firearm recovered in this case, or

   alternatively, to strike the government’s expert testimony. Mr. Routh requests the

   Court enforce Federal Rule of Criminal Procedure 16(a)(1)(E) and (F), the Due

   Process Clause, the Sixth Amendment, and his right to present a complete defense

   under the United States Constitution. Specifically, Mr. Routh requests the Court

   issue an order compelling the government to permit defense expert inspection,

   photography, and testing of the Norinco SKS rifle and its parts recovered from the

   scene.

                                         FACTS

            Mr. Routh is charged with Attempted Assassination of a Major Presidential

   Candidate, Possessing a Firearm in Furtherance of a Crime of Violence, Assaulting a
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   Federal Officer, Felon in Possession of a Firearm, and Possession of a Firearm with

   an Obliterated Serial Number. DE 21. At the scene of Trump International Golf Club

   in West Palm Beach on September 15, 2024, FBI Agents photographed and collected

   a Norinco rifle into evidence. DE 14. As discussed at the last status hearing, when

   the rifle was collected at the golf course, it had a scope attached by a combination of

   black tape, metal brackets, and silicone/putty material with a wrapper taped around

   the ocular lens of the scope. DE 105. The government submitted the rifle for

   function/operability testing with their firearm expert. Id. The government has not

   advised the defense of any outstanding or remaining firearm testing. The defense now

   seeks the opportunity for our expert to inspect, photograph, and test the rifle to

   evaluate the government’s expert’s findings, and to test for additional information

   that may be useful or helpful to the defense.

           A defense evidence view was scheduled on February 25, 2025, so a defense

   expert, flying into town for the golf course scene visit could also view the evidence on

   the same day. The scene view was scheduled as late as possible, prior to the Court’s

   deadline, to give the government sufficient time to finish any remaining testing and

   transport the firearm to Florida. Thus, the evidence view was conducted at the FBI

   building on February 25, 2025 and defense counsel and their experts viewed the

   firearm.1 The government now does not oppose Defense ability to photograph


   1 Despite the explicit language of Fed. R. Crim. P. 16(a)(1)(E) and (F), allowing inspection, copies, and

   photographs of items in evidence, defense counsel was not permitted to bring photography equipment
   into the FBI for their evidence view. At the date of the visit, defense counsel asked both security and
   the evidence agents to confirm that they were unable to photograph the materials, given the discovery
   rules, and both sets of agents confirmed that photography was not permitted as the FBI prohibits
   photographs by non-FBI personnel in their building. Undersigned counsel asked the evidence agents
   if they would photograph the materials on their behalf, and they declined. Further, the evidence agents
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   evidence at the FBI facility, as long as the defense secures a court order to do so. The

   scope, black tape, brackets, and paper/plastic tubing were all removed from the rifle.

   Id. Defense counsel does not know the exact circumstances surrounding the removal

   of the these items from the scope, as those items were apparently boxed separately

   from the rifle and not made available for our evidence view.2

           Due to the government disassembly of the firearm, the defense cannot inspect,

   measure, photograph, or test fire the firearm in its original state. Because such

   testing could have resulted in exculpatory material, the defense has been irreparably

   harmed. For example, it is now impossible for the defense to test whether the scope

   was attached in a wildly inaccurate or useless fashion, as it was taken off the rifle

   prior to any accuracy testing or location preservation by the government. Despite this

   spoliation, the defense does not have evidence, at this time, that the government

   acted in bad faith such that dismissal may be warranted.3 See e.g. Arizona v.

   Youngblood, 488 US 51, 52 (1988) (failure to preserve “potentially useful evidence”

   does not constitute a denial of due process unless the defendant can show bad faith




   stated that their instructions from the case agent(s) were that no photographs were permitted. At this
   point the defense team, who did not have access to phones or electronics, proceeded with the evidence
   view. At that point, the defense team decided that they would request photography during their expert
   testing of the rifle. Notably, at the request of defense counsel and to comport with the work product
   privilege, the agents present for the evidence view were independent and not directly involved in the
   case.

   2 Defense counsel asked the agents present for the evidence view the location of those items removed

   from the firearm but not boxed with the firearm (the tape, metal brackets, and the tube), and the
   agents at the evidence view stated that they did not have that information. Since then, the
   government has advised that they will make those items available for our review.

   3 Defense reserves its rights to cross-examine on the spoliation of the firearm, request a jury

   instruction, and seek any other remedy which may be appropriate if evidence of spoliation is
   introduced at the trial.
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   on the part of the police), United States v. Brown, 9 F.3d 907 (11th Cir. 1993) (at most,

   the police negligently destroyed a firearm but did not act in bad faith to warrant

   dismissal); United States v. Revolorio-Ramo, 468 F.3d 771 (11th Cir. 2006)

   (destruction of evidence and poor photographic preservation was negligent and not

   an intent to deprive the defendant of favorable evidence).

         To remedy this damage, the defense requests the opportunity to inspect and

   test to discover any additional information that may be revealed from the rifle, in its

   current state, that may be useful and helpful to the defense. The government objects

   “to any defense testing of the firearm,” but would not oppose “a function test/dry-

   firing” with the FBI’s safety approval measures. Upon consultation with defense

   experts, live fire testing would be insightful to potential defects in the rifle, accuracy

   of the rifle, and the capabilities/distance of the rifle. As discussed below, the defense

   is entitled to test for this information, which may validate or refute the government’s

   expert’s opinion testimony regarding the rifle’s capabilities and to confirm or

   challenge the government’s testing of operability.

      RIGHT OF DEFENSE TO TEST TANGIBLE OBJECTS IN EVIDENCE

         The defense has a right to test the rifle pursuant to the United States

   Constitution and the Federal Discovery rules. The Fifth Amendment’s Due Process

   Clause demands that, “criminal prosecutions must comport with prevailing notions

   of fundamental fairness.” California v. Trombetta, 467 US 479, 485 (1984).

   Furthermore, “Whether rooted directly in the Due Process Clause of the Fourteenth

   Amendment [or Fifth Amendment] or in the Compulsory Process or Confrontation
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   Clauses of the Sixth Amendment, the Constitution guarantees criminal defendants

   ‘a meaningful opportunity to present a complete defense.’” Holmes v. South Carolina,

   547 U.S. 319 (2006) (quoting Crane v. Kentucky, 476 U.S. 683, 690 (1986), cf.

   Strickland v. Washington, 466 U.S. 668, 684–685 (1984) (‘The Constitution

   guarantees a fair trial through the Due Process Clauses, but it defines the basic

   elements of a fair trial largely through the several provisions of the Sixth

   Amendment’). “To safeguard this right, the Court has developed ‘what might loosely

   be called the area of constitutionally guaranteed access to evidence.’” California v.

   Trombetta, 467 US 479, 485 (1984) (citing United States v. Valenzuela-Bernal, 458

   U.S. 858, 867 (1982)).

         In addition, Fed. R. Crim. P. 16(a)(1)(E) mandates that the government must

   permit the defendant to inspect tangible objects within its possession, custody, or

   control if the item is material to preparing the defense or if the government intends

   to use the item in its case-in-chief. Notably, the “materiality” standard for purposes

   of Fed. R. Crim. P. 16 is a low threshold and satisfied if information would have

   helped in preparing a defense. United States v. Hernandez-Meza, 720 F.3d 760 (9th

   Cir. 2013).

         Finally, defense experts are entitled to “access on equal terms” to the

   government’s evidence. United States v. Shrake, 515 F.3d 743, 747 (7th Cir. 2008)

   (citing Wardius v. Oregon, 412 U.S. 470 (1973)). Indeed, refusal to provide a

   defendant’s expert with such equal access would give the Court “discretion to prevent

   the prosecution's expert from testifying—or at least to prevent [them] from testifying
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   to matters that [they] investigated using forensic tools that were not available to the

   defense expert.” Shrake, 515 F.3d 743. Such equal access commonly includes access

   to prohibited materials, like the sexually explicit material in Shrake, but the

   discovery rules make no such limitations. “A defendant in a drug prosecution has a

   right to have an expert of his choosing perform an independent analysis on the seized

   substance.” United States v. Rolande-Gabriel, 938 F.2d 1231, 1238 (11th Cir. 1991);

   see also United States v. Butler, 988 F.2d 537, 543 (5th Cir. 1993) (“a concomitant

   part of the examination or inspection [is] the right of the accused to have an

   independent chemical analysis performed on the seized substance.”); United States v.

   Ramonet, 17-CR-80090-DMM, DE 23 (Oct. 3, 2017) (ordering transferring alleged

   methamphetamine to defense expert for independent testing). The district’s local

   rules also explicitly permit defense testing of narcotics, which like child sexually

   explicit material is often illegal contraband, in order to comport with the Constitution

   and the federal discovery rules. See Local Rule 88.10(k) (“The government shall, upon

   request, deliver to any chemist selected by the defense, who is presently registered

   with the Attorney General in compliance with 21 U.S.C. §§ 822 and 823, 70 and 21

   C.F.R. § 101.22(8), a sufficient representative sample of any alleged contraband

   which is the subject of this indictment, to allow independent chemical analysis of such

   sample”). Local Rule 88.10(l) and (m) also provides for independent, expert testing of

   automobiles, airplanes, and latent/palm prints.

         Here, the defense merely requests equal expert access and independent testing

   for critical items of evidence: the rifle and its associated parts. The defense has hired
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   its own experts who wish to inspect, photograph, and test fire the rifle. Depending on

   their results, the defense may call one or more experts at trial to rebut or impeach

   the government’s expert or to offer additional evidence.

         The government objects to defense firearms testing, claiming at the status

   hearing on March 7, 2025 that “It is utterly unprecedented. I was going to suggest, if

   they want to raise the issue, they need to put it in a motion because it would be

   completely without precedent.” Transcript, DE 107, pg 27. Yet, undersigned counsel

   Militello previously conducted similar expert firearm testing in the case of United

   States v. Edwin Crawford, 2016-cr-80170-RLR, DE 78, (July 14, 2017), and provided

   the government a copy of the Crawford Order on January 29, 2025 to attempt to reach

   an agreement regarding the expert testing. Thus, this request is not unprecedented.

         In the Crawford case, the United States agreed to expert testing of two

   firearms and alleged silencers. See Exhibit 1. The items were held in evidence at a

   local ATF facility and were sent to a Michigan ATF facility for the defense expert in

   Michigan to conduct independent examination, including disassembly and test firing.

   Id. And while homicides and attempted homicides are rare in federal court in Palm

   Beach County, firearms are routinely sent to defense expert labs in homicide cases in

   state court. See e.g. Exhibits 2 a-c (agreed orders in State of Florida. v. Belizaire,

   22CF002246; State of Florida v. Kirkwood, 21CF007822; and State of Florida v.

   Shuler, 17CF011929).

         Notably, the United States has previously agreed to the testing firearm parts

   with the defendant’s expert. For example, in United States v Troy Cecsarini, 2022-cr-
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   00184-TL, DE 26, (W.D. Wash. January 9, 2024), the parties agreed to transfer the

   firearm and related parts from the Customs and Border Protection office in Seattle,

   Washington to the defense expert’s lab without court intervention. See Exhibit 3. A

   motion to continue states: “The defense expert is based outside of Atlanta, Georgia.

   Since December 2023, the defense has been working with the government and the

   lead agents to transfer the necessary exhibits to the defense expert. However, for

   various logistical and scheduling reasons, the exhibits did not get transferred until

   early January 2024.” Id. This is one of the same experts the defense intends to use

   for testing in this case and the defense is willing to agree upon safety procedures.

         To determine the validity of the government’s expert findings, the defense

   must have equal access to the evidence. In this case, the government has conducted

   an operability test on the firearm but has not tested its accuracy or distance. The

   defense seeks to not only confirm or challenge operability, but also to conduct

   additional testing to assess the validity of other government expert opinions of its

   capability of target striking. The firearm’s accuracy and effective range could impact

   the validity of the government’s expert’s opinion and certainly provide admissible

   defense rebuttal or impeachment evidence. Further, it may have been impossible for

   the defendant to commit the alleged crime if the firearm was defective, inaccurate, or

   had a limited range. Indeed, the government may be under an obligation to provide

   such information pursuant to Brady v. Maryland, 373 U.S. 83 (1963), per the

   Magistrate Judge’s order on September 16, 2024 (DE 8) (“The government has a duty

   to disclose any evidence that goes to negating the defendants guilt, the credibility of
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   a witness, or that would reduce a potential sentence”), and Local Rule 88.10(c).

   Brady held “that the suppression by the prosecution of evidence favorable to an

   accused upon request violates due process where the evidence is material either to

   guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.”

   Id. at 87. Thus, the Court should also grant this motion to comport with Due Process.

         This request is consistent with the principles of fairness and justice, ensuring

   that the defendant has a full and fair opportunity to prepare his defense. Specifically,

   such inspection and testing is necessary to properly investigate the physical evidence

   and discovery in the case, to provide effective assistance of counsel, to competently

   cross-examine the government’s experts, and to determine whether witnesses should

   be called on the defendant’s behalf. Without said testing, the defense would be forced

   to blindly accept the government’s incomplete testing and their expert’s forensic

   opinion. This does not comport with the Constitution or the discovery rules. The

   defense may challenge any part of the government’s testing and the opinion(s) of their

   expert.

         DEFENSE REQUEST FOR INDEPENDENT TESTING OF RIFLE

         In this matter, the defense requests this Court to permit the following

   inspection and testing, as outlined in defense Proposed Order to Permit Independent

   and Confidential Testing. See Defense Exhibit 4.

         The defense is willing to conduct this testing at a government approved FBI,

   ATF, or other federal or state police firing range facility. Alternatively, the requested

   materials may be transported to the defense expert’s laboratory and returned. For
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   either of these options, the defense will safeguard the evidence while it remains in

   defense possession and would comply with any reasonable government requests for

   transportation. This order would appropriately balance the government’s interest in

   safeguarding the evidence with the defense interest to have equal access to the

   evidence and prepare a defense. There would be no undue prejudice to the

   government for the short duration of this expert testing. Unlike the government’s

   prior testing, which disassembled the rifle and made testing of it in its original

   condition impossible, the defense testing will not further destroy the evidence.

   Besides objecting to the removal of “evidence from FBI’s chain of custody”, the

   government reserves stating their logistical position of defense testing unless and

   until the Court orders the ability of such testing.

         Further, the defense will agree to reasonable procedural safeguards, as in

   Crawford, to preserve the evidence, such as having an independent evidence

   custodian present to monitor the integrity of the evidence. However, the agent should

   not record or videotape the procedure or discuss the testing with the government. See

   United States v. Pecina, 302 F.R.D. 492, 496 (N.D. Ind. 2014) (“The government

   shouldn't get a leg up in discrediting the defense expert's analysis by having a video

   of her work to criticize in court where the defense did not have the same

   opportunity.”) This procure is not administratively onerous, as it would take a very

   short amount of time and not unnecessarily consume government resources.
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         DEFENSE ALTERNATIVE REQUEST TO EXCLUDE ANY EXPERT
              FORENSIC EXAMINATION ABOUT THE FIREARM

          Alternatively, if the Court does not compel the government to provide equal

   access to the rifle for independent testing, then the defense respectfully requests this

   Court exclude any government expert testimony regarding the actual or potential

   operability, function, or accuracy of the firearm. The Court has broad discretion in

   fashioning a remedy for discovery violations. See Fed.R.Crim.P. 16(d)(2). “In

   exercising its broad discretion to impose sanctions on the government for failure to

   comply with a discovery order, a district court should consider: ‘(1) the reasons the

   government delayed producing the requested materials, including whether or not the

   government acted in bad faith ...; (2) the extent of prejudice to the defendant as a

   result of the government's delay; and (3) the feasibility of curing the prejudice with a

   continuance.’” United States v. Peveto, 881 F.2d 844, 863 (10th Cir.1989). Excluding

   the government’s expert opinion regarding operability or function of the firearm is

   the type of remedy discussed in Shrake, 515 F.3d 743, when the government refused

   to allow equal access to evidence. Exclusion of such testimony is the only remedy here,

   if the defense is not permitted equal access to photograph, inspect, and to test and

   live fire the rifle.

          WHEREFORE, the defendant respectfully requests this Court to enter an

   order permitting defense counsel and their experts to come to a federal or state

   facility for the above mentioned testing pursuant and/or to permit defense to obtain

   the rifle to be tested at a defense facility and expeditiously return said item, according

   to Federal Rules of Evidence 16b and the United States Constitution.
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   Respectfully submitted,


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                              CERTIFICATE OF SERVICE

         I hereby certify that on March 28, 2025, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.

                                          s/ Renee Sihvola
                                          Renee Sihvola
